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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )
                                               )
              vs.                              )                  8:06CR19
                                               )
JUAN VARGAS,                                   )                  ORDER
                                               )
                      Defendant.               )




        Before the Court is defendant’s unopposed Further Motion to Continue Entry of Plea
[106]. Good cause being shown, the motion will be granted and the Change of Plea Hearing
will be continued.

       IT IS ORDERED:

       1.     That the defendant’s Further Motion to Continue Entry of Plea [106] is granted;
              and

       2.     The Change of Plea hearing is continued to August 8, 2006 at 3:00 p.m. before
              Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L.
              Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.

        For this defendant, the time between July 19, 2006 and the hearing on the anticipated
plea of guilty is excluded for purposes of computing the limits under the Speedy Trial Act. See
18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).


       DATED this 19th day of July, 2006.

                                            BY THE COURT:


                                            s/ F.A. Gossett
                                            United States Magistrate Judge
